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                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA

Cincinnati Insurance Company, et al.                                             CASE NUMBER

                                                                  Plaintiff(s)                            2:22-cv-01770
                                      v.
Andy Rock F.A.S., LLC, et al.                                                           (PROPOSED) ORDER ON REQUEST FOR
                                                                                          APPROVAL OF SUBSTITUTION OR
                                                                Defendant(s)
                                                                                           WITHDRAWAL OF ATTORNEY

          The Court hereby orders that the request of:

Rock-It Cargo USA LLC, doing business as "Dietl
International Services: ("Dietl"), (sued and Served as "Dietl
                                                                   Plaintiff       Defendant        Other
International")      Name of Party

to substitute          Mark E. Estrella                                                                                            who is

             Retained Counsel                  Counsel appointed by the Court (Criminal cases only)                          Pro Se

  LAX Airport Center, Twelfth Floor, 5901 West Century Boulevard
                                                                           Street Address

          Los Angeles, CA 90045                                                              mpestrella@cargolaw.com
                               City, State, Zip                                                            E-Mail Address

           310-342-6500                                            310-342-6505                               CA 187091
                     Telephone Number                                    Fax Number                                  State Bar Number

as attorney of record instead of Kelly E. Mulrane
                                                                List all attorneys from same firm or agency who are withdrawing.




is hereby                 GRANTED                   DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this case.


           Dated
                                                                                    U. S. District Judge/U.S. Magistrate Judge



G–01 ORDER (09/17)              (PROPOSED) ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
